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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                 IN THE UNITED STATES DISTRICT COURT                            April 07, 2021
                 FOR THE SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                           HOUSTON DIVISION




   Nitetek Licensing LLC,                           Case No. 4:20-cv-04036

          Plaintiff,                                Patent Case

          v.                                        Jury Trial Demanded

   Vertiv Co.,

          Defendant.




     ORDER GRANTING PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL WITHOUT
                                 PREJUDICE



 The request to dismiss this matter without prejudice is hereby GRANTED.




        04/07/2021
 Date: ____________________         ______________________________________
                                    Hon. Charles Eskridge
                                    United States District Judge




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